Dear Secretary Carnahan:
This opinion letter responds to your request dated January 28, 2011, for our review under § 116.334, RSMo, of a proposed summary statement prepared for the petition submitted by Russell C. Purvis regarding a proposed amendment to Article III of the Missouri Constitution (version 2). The proposed summary statement is as follows:
  Shall the Missouri Constitution be amended to reduce the number of members and districts of the Missouri House of Representatives from 163 to 103 beginning with the 2023 General Assembly?
Pursuant to § 116.334, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
  Very truly yours,
  _________________ CHRIS KOSTER Attorney General *Page 1 